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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

    AMAZON.COM, INC. and AMAZON DATA
    SERVICES, INC.,
                 Plaintiffs,
          v.
    WDC HOLDINGS LLC dba NORTHSTAR COMMERCIAL
    PARTNERS, et al.,

                 Defendants.
                                                          CASE NO. 1:20-CV-484-RDA-IDD


    800 HOYT LLC,                                          MEMORANDUM IN SUPPORT
                                                             OF DEFENDANTS BRIAN
                 Intervening Interpleader Plaintiff /       WATSON, WDC HOLDINGS
                 Intervening Interpleader Counter-           LLCS, STERLING NCP FF,
                 Defendant,                                LLC, MANASSAS NCP FF, LLC,
                                                           AND NSIPI ADMINISTRATIVE
          v.                                                MANAGER’S MOTION FOR
                                                               PARTIAL SUMMARY
    BRIAN WATSON, WDC HOLDINGS, LLC, and BW
                                                                   JUDGMENT
    HOLDINGS, LLC,
                 Interpleader Defendants,                         [PUBLIC VERSION]
          and
    AMAZON.COM, INC., and AMAZON DATA
    SERVICES, INC.,
                 Interpleader Defendants / Interpleader
                 Counter-Plaintiffs.


          Defendants Brian Watson (“Watson”), WDC Holdings LLC, dba Northstar Commercial

   Partners (“Northstar”), Sterling NCP FF, LLC, Manassas NCP FF, LLC, and NSIPI Administrative

   Manager (collectively, the “Watson Defendants”) respectfully submit the following memorandum

   in support of their motion for summary judgment on the claims brought against them by

   Amazon.Com, Inc. and Amazon Data Services, Inc. (collectively, “Amazon”).
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                                           INTRODUCTION

            Amazon has pursued this case relentlessly without regard to the facts and has had to file

   multiple amended complaints and was forced to withdraw false affidavits submitted by its counsel.

   Over that time, its legal and factual theories have morphed and evolved in search of a sound legal

   and factual basis and are still wanting. Despite that evolution, and discovery having concluded,

   Amazon cannot support the kitchen sink of claims it has thrown at the Watson Defendants. The

   Court should grant summary judgment in favor of the Watson Defendants.

            Amazon repeatedly told this Court that it had been irreparably harmed and damaged “by at

   least $50 million” and that $21,250,000 was a “conservative estimate” of its damages. Now that

   discovery has been taken and Amazon actually has to provide evidence to support its claims, it

   turns out that Amazon’s claims of injury were all bluster—just as the Watson Defendants had

   argued. In all instances, Amazon ignores the actual legal requirements for proof of loss under its

   claims: it must prove that it paid above market prices for the properties at issue. Even under its

   own flawed damages methodology, Amazon admits that it has no compensable damages on the

   Lease Transactions and its damages theories on the Direct Purchase Transactions are legally

   insupportable.1 Because Amazon has no compensable damages, a mandatory element of its claims,

   the Watson Defendants are entitled to judgment on each of Amazon’s claims.

            Similarly, Amazon is unable to support other substantive elements of its claims. Although

   there are substantial disputes concerning many substantive elements of Amazon’s claims,

   significant dispositive elements are undisputed. For example, its RICO claims fail because the

   undisputed evidence shows that Amazon has no standing and that there was no RICO enterprise,

   continuity, or causal link to an alleged substantive RICO predicate act. Many of Amazon’s claims



   1
       The Lease Transactions and the Direct Purchase Transactions are defined below.
                                                    1
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   seek to hold the Watson Defendants liable for the White Peaks transaction based on respondeat

   superior or other legal theories. The undisputed evidence shows that no such doctrine is applicable

   here and that Watson was intentionally excluded from that transaction. Based on these and other

   undisputed facts discussed below, the Watson Defendants are entitled to summary judgment in

   their favor.




                      STATEMENT OF UNDISPUTED MATERIAL FACTS2

            There are numerous disputes of fact—and disputes of interpretation of fact—among the

   parties. After discovery, however, a number of critical material facts are undisputed.

       I.   The Parties

            1.     Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. are Delaware

   corporations headquartered in Seattle, Washington. Amazon operates many large data center

   facilities in Virginia and other parts of the country. Dkt. 765 (Third. Am. Compl.) ¶¶ 8-9.

            2.     Defendant Brian Watson is the founder and Chief Executive Officer of Northstar,

   a full-service real estate investment, development, and asset management company. Id. ¶ 10; Decl.

   of B. Watson ¶ 2. Defendants Sterling NCP, Manassas NCP, and NSIPI Administrative Manager




   2
     This statement is submitted pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, which
   authorizes the court to grant “summary judgment if the movant shows that there is no genuine
   dispute as to any material fact and the movant is entitled to judgment as a matter of law.” This
   statement does not constitute an admission or stipulation as to any fact stated herein for purposes
   of trial. In instances of cross-motions for summary judgment, neither party waives the right to a
   full trial on the merits by filing its own motion; each side concedes that no material facts are at
   issue only for the purposes of its own motion. Sherwood v. Washington Post, 871 F.2d 1144, 1148
   (D.C. Cir. 1989); see also Cram v. Sun Ins. Office, Ltd., 375 F.2d 670, 674 (4th Cir. 1967) (when
   parties bring cross-motions for summary judgment, “[n]either party . . . concedes the truth of the
   allegations of his adversary other than for purposes of [its] own motion”).
                                                    2
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   are entities formed and controlled by Watson and Northstar for purposes of executing the Virginia

   lease transactions at issue in this suit. Dkt. 765. ¶ 11.

           3.      Defendants White Peaks Capital LLC (“White Peaks”) and NOVA WPC LLC

   (“NOVA”) are Delaware limited liability companies located in Parker, Colorado and were formed

   and controlled by non-parties Kyle Ramstetter and William Camenson for the purpose of executing

   the White Peaks Purchase Transaction at issue in this suit. Dkt. 765 ¶ 49-50.

           4.      Defendants Carleton Nelson and Casey Kirschner are former real estate transaction

   managers for Amazon. Dkt. 756 ¶¶ 16, 18.

           5.      Amazon terminated Casey Kirschner’s employment in April 2020. Dkt. 765 ¶ 17.

           6.      Amazon terminated Nelson’s employment in June 2019 based on matters unrelated

   to the present litigation. Dkt. 765. ¶ 20; Declaration of Jeffrey R. Hamlin, Ex. 1 (Davenport Tr.) at

   20:9-21:16.3

           7.      Defendant Rodney Atherton is an attorney who created trusts and corporate entities

   on behalf of Christian Kirschner, Casey Kirschner, and Nelson. Dkt. 765. ¶¶ 23, 25-26, 28-31, 33-

   36, 39. Atherton has never represented any of the Watson Defendants. Ex. 2 (Atherton Tr.) at

   260:25-261:12.

           8.      Defendant Villanova Trust is a trust formed by Atherton. Dkt. 765. ¶ 25-26.

           9.      Christian Kirschner, the brother of Defendant Casey Kirschner, was the sole trustee

   of Villanova Trust. Dkt. 765. ¶ 26.

           10.

                                                  Ex. 3 (Atherton Answers to Pl. Interrogatories) at 2.




   3
    Exhibit numbers will hereinafter refer to the exhibits to the Declaration of Jeffrey R. Hamlin in
   support of the Motion for Summary Judgment, except as otherwise noted.
                                                      3
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   The Watson Defendants did not participate in the formation, business, or affairs of Villanova Trust

   and had no interest or control in it or any of its assets. Ex. 2 (Atherton Tr.) at 263:2-5.

          11.     Defendant Cheshire Ventures LLC (“Cheshire”) is a limited liability company

   organized by and registered to Atherton. Dkt. 765 ¶¶ 28-29.

                                   Ex. 3 (Atherton Answers to Pl. Interrogatories) at 12. The Watson

   Defendants did not participate in the formation, business, or affairs of Cheshire and had no interest

   or control in it or any of its assets. Ex. 2 (Atherton Tr.) at 262:10-21, 264:1-12, 264:21-23.

          12.     Defendant Finbrit Holdings LLC (“Finbrit”) is a limited liability company

   organized by and registered to Atherton. Dkt. 765. ¶¶ 30-31.

                                                          Ex. 3 (Atherton Answers to Pl. Interrogatories)

   at 12. The Watson Defendants did not participate in the formation, business, or affairs of this entity

   and had no interest or control in it or any of its assets. Ex. 2 (Atherton Tr.) at 262:10-21.

          13.     Defendant 2010 Irrevocable Trust is a trust formed and controlled by Atherton. Dkt.

   765. ¶ 33.

                                                                             Ex. 3 (Atherton Answers to

   Pl. Interrogatories) at 3. The Watson Defendants did not participate in the formation, business, or

   affairs of the 2010 Irrevocable Trust and had no interest or control in it or any of its assets. Ex. 2

   (Atherton Tr.) at 262:10-21.

          14.     Defendant AllCore Development LLC (“AllCore”) is a limited liability company

   organized by and registered to Atherton. Dkt. 765. ¶¶ 35-36.

                                                          Ex. 3 (Atherton Answers to Pl. Interrogatories)

   at 3. The Watson Defendants did not participate in the formation, business, or affairs of AllCore

   and had no interest or control in it or any of its assets. Ex. 2 (Atherton Tr.) at 262:10-21.



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             15.      Defendant CTBSRM, Inc. (“CTBSRM”) is a corporation organized by and

   registered to Atherton. Dkt. 765. ¶¶ 41-42.

                                       Ex. 3 (Atherton Answers to Pl. Interrogatories) at 3. The Watson

   Defendants did not participate in the formation, business, or affairs of CTBSRM and had no

   interest or control in it or any of its assets. Ex. 2 (Atherton Tr.) at 262:10-21.

             16.      Defendant Demetrius Von Lacey is a signatory on the corporate documents of

   certain of the corporate defendants in this matter. Dkt. 765. ¶ 24.

             17.      Defendant Sigma Regenerative Solutions, LLC (“Sigma”) is a limited liability

   company with its address at Atherton’s office, organized by and registered to Demetrius Von

   Lacey. Dkt. 765. ¶¶ 39-40.

              Ex. 3 (Atherton Answers to Pl. Interrogatories) at 12, 14. The Watson Defendants did

   not participate in the formation, business, or affairs of Sigma and had no interest or control in it or

   any of its assets. Id.

             18.      Defendant Renrets LLC (“Renrets”) is a limited liability company organized by and

   registered to James M. Sterner, Nelson’s father-in-law. Dkt. 765. ¶¶ 45-47; Ex. 4 (Nelson Tr.) at

   194:7-11. Amazon does not allege that the Watson Defendants participated in the formation,

   business, or affairs of Renrets or had any interest or control in it or any of its assets. Renrets was

   recently dismissed from this action pursuant to a confidential settlement with Amazon. Dkt. 1112.

       II.         The Lease Transactions

             19.      In July 2017, Northstar received from Amazon a Request for Proposal (“RFP”)

   pertaining to the development of build-to-suit (i.e., new, custom-built) constructions for Amazon

   in Northern Virginia. Dkt. 765. ¶ 104.




                                                      5
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          20.     In September 2017, Northstar responded to the RFP with a proposal for build-to-

   suit construction of multiple buildings. Ex. 5 (Northstar email to Casey Kirschner); Ex. 6

   (Northstar Response to Request for Proposal); Ex. 7 (Watson Tr.) at 141:2-143:13.

          21.     Amazon subsequently selected Northstar as the developer for a total of nine

   buildings (the “Lease Transactions”), pursuant to which Northstar and its joint venture partner

   would purchase and develop four land sites, consisting of nine buildings, over a two-year period

   and lease them to Amazon upon completion of each building. Dkt. 765. ¶ 111; Ex. 7 (Watson Tr.)

   at 143:4-10.

          22.     Pursuant to Amazon’s internal policies, selection of Northstar’s response to the

   RFP required the approval of multiple Amazon executives in multiple departments. Ex. 1

   (Davenport Tr.) at 60:14-21; see also, e.g., id. at 68:13-69:4 (stating that the property labeled

   IAD130 required the approval of seven Amazon executives).

          23.     Following Northstar’s response to Amazon’s initial RFP, Northstar engaged IPI

   Partners, Ltd. (“IPI”) as an equity partner in the development of the properties subject to the Lease

   Transactions. Dkt. 765 ¶¶ 121, 126. Northstar and IPI entered into a joint venture, NSIPI Data

   Center Venture, LLC (“NSIPI”). See Ex. 8 (Limited Liability Company Agreement of NSIPI Data

   Center Venture, LLC (March 2, 2018)). This agreement set out the fees that Northstar was entitled

   receive from NSIPI for its work as manager of the Amazon projects as well as a waterfall schedule

   for any profits which prioritized repayment of IPI’s capital contributions. Id. The agreement was

   subsequently amended in June 2018. See Ex. 9 (Amended and Restated Limited Liability Company

   Agreement of NSIPI Data Center Venture, LLC (June 4, 2018)).

          24.     NSIPI subsequently created and wholly owned a series of corporate entities through

   which they purchased the properties and which acted as the landlords in the Lease Transactions:



                                                    6
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   Dulles NCP LLC, Quail Ridge NCP LLC, Manassas NCP LLC, and Dulles NCP II LLC

   (collectively, the “Special Purpose Ownership Entities”). Dkt. 765. ¶¶ 128, 131.




                   E.g., Ex. 10 (Deed of Lease (IAD144)) at Ex. F.

          25.      On February 27, 2018, Dulles NCP entered into two Deed of Lease Agreements

   with Amazon relating to Amazon’s lease of build-to-suit properties identified as IAD144 and

   IAD145. Dkt. 765. ¶ 133; Ex. 11 (IPI Settlement Agreement) at 1.

          26.      On April 6, 2018, Quail Ridge entered into four Dead of Lease Agreements with

   Amazon relating to Amazon’s lease of build-to-suit properties identified as IAD124, IAD125,

   IAD126, and IAD127. Dkt. 765. ¶ 133; Ex. 11 (IPI Settlement Agreement) at 1.

          27.      On November 1, 2018, Manassas NCP entered into two Deed of Lease Agreements

   with Amazon relating to Amazon’s lease of build-to-suit properties identified as IAD130 and

   IAD131. Dkt. 765. ¶ 133; Ex. 11 (IPI Settlement Agreement) at 1.

          28.      Accordingly, Amazon entered into all but one lease over a period of approximately

   eight months.

          29.      On January 13, 2020, Dulles NCP II entered a Deed of Lease Agreement with

   Amazon relating to Amazon’s lease of a build-to-suit property identified as IAD175. Dkt. 765. ¶

   133; Ex. 11 (IPI Settlement Agreement) at 1. Amazon entered into this lease weeks after it became

   aware of and began its investigation into the matters that are the subject of this action. See Ex. 12

   (Amazon.com, Inc.’s Responses to Carleton Nelson and Cheshire Ventures LLP’s First Set of

   Requests for Admission to Amazon.com, Inc. (“Amazon Admissions”)) ¶ 7; Ex. 13 (Minarik Tr.)

   at 106:25-107:19; Dkt. 765 ¶¶ 63-72.



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           30.




           31.      The fees actually received by Northstar were paid out by the Special Purpose

   Ownership Entities, approved by IPI as the Majority Equity Investor, and were funded by lender

   debt and equity from investors. See Ex. 14 (Gilpin Tr.) 61:25-62:16; Decl. of B. Watson ¶ 3. Most

   of the fees received by Northstar were received before Amazon had even begun paying rent. Id. ¶

   5. All of the leasing, entitlement, and acquisition fees, totaling $13,536,647 were paid before those

   dates (or minimally before Amazon had paid sufficient rent to fund them). See id.; Ex. 15 (Expert

   Report of Richard Lee (Nov. 16, 2022)) at Ex. 5 (documenting the date and source of all fees paid

   to Northstar).

           32.

                                               See e.g. Ex. 10 (IAD144 Lease) ¶1.b.

           33.      Even when Amazon began paying rent, most of the rent received by the Special

   Purpose Ownership Entities was used to service debt. Decl. of B. Watson ¶ 6. A small portion may

   have been disbursed to the landlord’s equity investors, but no profits from Amazon’s rent payments

   went to Northstar. See id. ¶ 4.

           34.      Amazon does not believe that the leases exceeded market rates. Ex. 16 (Klein Tr.)

   at 345:11-16; Ex. 1 (Davenport Tr). at 124:7-17. In its discovery responses, Amazon has not

   claimed any damages based on its rent being above-market. See, e.g., Ex. 17 (Amazon.com, Inc.’s

   and Amazon Data Services, Inc.’s Responses to WDC Holdings, LLC’s First Set of Interrogatories

   to Plaintiffs) at 10-14.




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          35.     Furthermore, the projects involved a low yield on cost for the developers. Ex. 12

   (Amazon Admissions) at 5. The initial project (IAD 144) carried the lowest yield that Amazon

   had ever had for a Virginia data center. Id.




                                      See Ex. 14 (Gilpin Tr.) at 139:1-4. Amazon has produced no

   evidence suggesting that the yield rates were above-market.4 Nor has Amazon produced evidence

   showing or suggesting that the rents were above-market (especially since the rents are derived

   from the development costs and yield on cost rates).

          36.

                                                                                      Ex. 19 (Vonderhaar

   30(b)(6) Tr.) at 127:18-128:9, 132:5-20.



   Id. at 134:14-1135:5. Amazon’s damages expert testified that he was not asked to assess if the

   lease fees and rates reflected a fair market price. Ex. 20 (Lee Tr.) at 75:7-25.

          37.

                                                              See Ex. 21 (Amazon Approvals); Ex. 19

   (Vonderhaar 30(b)(6) Tr.) at 248:13-251:3.




   4
     Keith Klein testified that he was the only person at Amazon who reviewed the yield rates. Ex.
   16 (Klein Tr.) at 279:19-281:6. Although he stated that he thought the yields were high, he
   stated that build to suit deals with COPT were also at 6.7% and could not identify any yield rates
   below 6.25% and only one other transaction at that rate. Id. at 273-275:8.
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                                                                                     Ex. 21 (Amazon

   Approvals) at AMZ-CVL-108311-12.

           38.     As of April 2020, the work that Northstar was obligated to perform pursuant to the

   Lease Agreements was complete and timely. Ex. 16 (Klein Tr.) at 257:2-258:15; Ex. 14 (Gilpin

   Tr.) at 92:14-16; Ex. 22 (A’Hearn Tr.) at 238:13-239:8.

           39.     In short, Amazon received the buildings for which it bargained. Ex. 17

   (Amazon.com, Inc.’s and Amazon Data Services, Inc.’s Responses to WDC Holdings, LLC’s First

   Set of Interrogatories to Plaintiffs) at 28.

           40.                                                             See e.g., Ex. 22 (A’Hearn

   Tr.) at 189:10-19, 238:13-239:8; Ex. 23 (4/11/20 Gilpin Email)




           41.

                         Ex. 19 (Vonderhaar 30(b)(6) Tr.) at 107:7-22.

           42.     Amazon determined to remove Northstar from the Lease Transactions in 2019, long

   before any allegation of kickbacks arose. Ex. 16 (Klein Tr.) at 326:25-328:5.

           43.     On February 19, 2020, IPI, NSIPI, and Amazon entered into a Lease Continuity

   Agreement pursuant to which the parties affirmed the lease contracts.           See Ex. 24 (Lease

   Continuity Agreement).

           44.     Amazon had taken possession of only four buildings prior to February 19, 2020,

   and had not paid any rent on any of the remaining five data centers, as the remaining data centers

   were either under construction or in the planning stages. Decl. of B. Watson ¶ 7. Although Amazon

   attorney D. Matthew Doden claimed that Amazon would not—under any circumstances—have



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   entered into the Northstar real estate transactions if it had known about Northstar’s payments to

   Villanova Trust, Amazon decided to take possession of the remaining five data centers after it was

   aware of the alleged fraud and, in fact, entered into the lease for IAD175 after having knowledge

   of the pertinent facts. See Ex. 13 (Minarik Tr.) 106:2-19; Ex. 12 (Amazon Admissions) at 4-5.

          45.




   See Ex. 11 (IPI Settlement Agreement). Amazon did not conduct a separate market analysis,



                                                              Ex. 25 (Doden 30(b)(6) Tr.) at 277:21-

   279:3; Ex. 28 (Amazon Supplemented Initial Disclosures) at 4.

          46.     Because Amazon has amended and adopted the Lease Transactions at issue, it is

   now contractually obligated to make payment of the rent called for under the various lease

   agreements. See e.g., Ex. 26 (Amended and Restated Lease Agreement (IAD144)) at 1, 8-9,

   Addendum 1.

          47.



                                                                                          Ex. 11 (IPI

   Settlement Agreement) at 3; Ex. 27 (Quail Ridge Purchase Agreement); Ex. 15 (Lee Report) at 38.

                                                                                Ex. 11.

          48.

                                                       Ex. 11 (IPI Settlement Agreement) at 3; Ex.36




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   (Quail Ridge Purchase Agreement) at 1.

                                     See Ex. 25 (Doden 30(b)(6) Tr. at 272:14-21).

          49.       Prince William County, Virginia land records show that the day before Amazon

   purchased the Quail Ridge properties, Amazon sold to an IPI subsidiary two other properties in

   Manassas, Virginia for approximately $87.4 million. See Ex. 16 (Klein Tr.) at 195:6-9.

          50.       To date, Amazon occupies all of the nine data centers developed by Northstar

   pursuant to the Lease Transactions. See Ex. 19 (Vonderhaar 30(b)(6) Tr.) at 301:3-9.

          51.       Amazon does not claim any actual damages with respect to the Lease Transactions.

   Ex. 28 (Amazon Supplemented Initial Disclosures) at 3. Amazon also has not presented any

   evidence of actual damages. See Ex. 15 (Expert Report of Richard Lee) at 39.

          52.

                                                                                             See Dkt.

   765 ¶ 112; Ex. 25 (Doden 30(b)(6) Tr.) 262:10-264:6. Amazon has not alleged or provided

   evidence that it would have been possible to obtain a lower yield on cost rate from another

   developer. Id.

          53.       Amazon has not provided any evidence concerning the market values of the Lease

   Transactions or the Direct Purchase Transactions. There is evidence, however, that the values of

   the properties at issue exceed the prices paid. See e.g. Ex. 16 (Klein Tr.) at 216:4-14 (explaining

   that land values have gone up in the county where Quail Ridge is situated); Ex. 29 (Kuhn Tr.) at

   65:18-66:3 (testifying that Ramstetter could have sold the White Peaks property for a higher price

   based on market conditions).




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   III.   Villanova Trust

          54.     Beginning in 2016, Northstar engaged Christian Kirschner as a referral partner. Ex.

   7 (Watson Tr.) at 264:11-19; Ex. 30 (Independent Contractor/Consulting Agreement (Sept. 21,

   2016)). Christian’s job was to connect Northstar with capital sources and investors with whom

   Northstar could possibly do business. Ex. 7 (Watson Tr.) at 264:22-265:4; Ex. 30 (Independent

   Contractor/Consulting Agreement (Sept. 21, 2016)). Acting in this role, Christian put Northstar in

   contact with Casey Kirschner to discuss possible real estate work between Northstar and Amazon.

   Ex. 7 (Watson Tr.) at 61:12-20.

          55.     On January 8, 2018, Villanova Trust and Northstar entered into an independent

   contractor agreement governing the fees and commissions that Christian Kirschner/Villanova

   Trust would receive from any Amazon business which Northstar gained as a result of Christian’s

   introduction. Ex. 31 (Independent Contractor Agreement (Jan. 8, 2018)).

          56.     At Christian’s request, payments under the agreement would be made to the

   Villanova Trust,

                           See Id.; Ex. 3 (Atherton Answers to Pl. Interrogatories) at 2, 6.

          57.     Watson had no part in the creation or administration of the Villanova Trust and the

   Watson Defendants had no authority or control over the Villanova Trust. Ex. 2 (Atherton Tr.) at

   262:10-21, 262:22-263:5.

          58.     All referral fees paid to the Villanova Trust were paid by Northstar from its bank

   accounts. Decl. of B. Watson ¶ 8. No payments were made to the Villanova Trust by Amazon,

   NSIPI, or any of the Special Purpose Ownership Entities created for the Lease Transactions. Id.;

   Ex. 15 (Lee Report) at Ex. 8.




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            59.    Defendants Nelson and Casey Kirschner did not have an agreement with Watson

   under which they would receive money from any of the Watson Defendants. Ex. 32 (Kirschner

   Tr.) at 310:16-23; Ex. 4 (Nelson Tr.) at 334:23-335:1, 336:3-7; Decl. of B. Watson ¶ 9.

            60.    The Watson Defendants never paid Nelson or Casey Kirschner. Ex. 32 (Kirschner

   Tr. at 310:24-311:1); Ex. 4 (Nelson Tr.) at 335:2-4; Decl. of B. Waton ¶ 9; Ex. 15 (Lee Report)

   Figs. 8-9 (documenting the source of all funds received by Casey Kirshner and Nelson).

   IV.      The White Peaks Transaction

            61.    In the summer of 2019, Amazon identified a parcel of land in Chantilly, Virginia

   (the “White Peaks Parcel”) to be used for a new Amazon development. Dkt. 765 ¶ 220.

            62.

                                                      See Ex. 33 (Andrew Jassy Approval of IAD 170

   Purchase).

            63.    In fact, the White Peaks Parcel was determined to be the “only site available within

   the 3-mile blast radius that is located on transmission and that can accommodate a new substation

   in addition to 4 data centers.” Id. at 3.

            64.    On January 16, 2019, Kyle Ramstetter and Will Camenson formed a business called

   White Peaks Capital, LLC. Ex. 34 (Limited Liability Operating Agreement of White Peaks Capital,

   LLC) .

            65.    Acting on behalf of White Peaks, Ramstetter negotiated to purchase the White

   Peaks Property from a Virginia real estate entrepreneur, Charles Kuhn, doing business as 41992

   John Mosby Highway LLC. Ex. 29 (Kuhn Tr.) at 40:19-22.

            66.    Although Ramstetter and Camenson were employees of Northstar at the time of the

   acquisition, they did not pursue the transaction on behalf of Northstar. Ex. 19 (Vonderhaar 30(b)(6)



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   Tr.) 393:21-394:5 (“I don’t recall evidence that [Ramstetter] engaged on behalf of Northstar. In

   fact, I think he – he – he engaged directly and independently to some degree.”); Ex. 29 (Kuhn Tr.)

   at 40:19-22 (“My understanding of White Peaks is Kyle Ramstetter left Northstar, formed White

   Peaks and White Peaks was the group that approached us to acquire the property.”); id. at 47:6-13

   (“Q: And what did they tell you, if you can recall specifically about [Camenson and Ramstetter’s],

   kind of, current business venture? A: “They said that they were going to go out on their own. They

   were going to approach Amazon and other hyperscalers about doing development on their

   behalf.”).

          67.     On April 22, 2019, Ramstetter and Camenson entered into a contract through

   Defendant White Peaks Capital, LLC, to purchase the White Peaks Parcel from John Mosby

   Highway LLC, for $98.67 million. Ex. 35 (KR_01942-79). This contract was then assumed by a

   Special Purpose Ownership entity wholly owned by White Peaks Capital LLC, called NOVA

   WPC, LLC. Ex. 36 (Second Amendment to Contract for Sale); Ex. 37 (NOVA WPC LLC

   Operating Agreement).

          68.     On July 29, 2019, Nova closed the purchase of the property. The same day, Amazon

   purchased the White Peaks Parcel for $116.4 million from NOVA. This price equated to $1.3

   million per acre, which an independent group at Amazon determined was a competitive price for

   the area. Ex. 35 (White Peaks Purchase Agreement); Dkt. 765. ¶ 224; Ex. 33 (Andrew Jassy Email

   Approving IAD 170).

          69.     Amazon’s purchase price of $1.3 million per acre was at or below market price. See

   Ex. 29 (Kuhn Tr.) at 65:18-66:3:

                  Q: Ok. So does it surprise you that a purchase that White Peaks
                  made for you at 1.1 would have been six months later sold for 1.3
                  to Amazon?
                  A: No. He undersold.

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                   Q: You think he should’ve waited for more?
                   A: I think he could’ve sold more. If he sold for 1.3, you’ll find
                   comparable for 1.5 in the same timeframe and you’ll find
                   comparable at 2.2 just a few months thereafter.
                   Q: How confident are you in that assessment?
                   A: 100%

           70.     Amazon has produced no evidence concerning the market price of the White Peaks

   property.

           71.     The Watson Defendants played no role in the White Peaks transaction and did not

   even know of it until after it was completed. Ex. 38 (Defendants’ Second Supplemental Answers

   to Plaintiffs’ First Set of Interrogatories) at 3.

           72.     Northstar played no part in the White Peaks transaction because Ramstetter and

   Camenson purposely cut it out of the deal. See Ex. 14 (Gilpin Tr.) at 209:7-15; Ex. 19 (Vonderhaar

   30(b)(6) Tr.) at 392:12-393:15; Ex. 22 (A’Hearn Tr.) at 154:17. Amazon does not allege that the

   Watson Defendants knew of or played any role in the transaction. Dkt. 765 ¶¶ 220-43.

           73.     Mr. Watson also played no part in the White Peaks transaction and, instead, learned

   of the transaction after the fact—six weeks later—through the media. Ex. 19 (Vonderhaar 30(b)(6)

   Tr.) at 320:10-15; Ex. 7 (Watson Tr.) at 164:1-8; Ex. 38 (Defendants’ Second Supplemental

   Answers to Plaintiffs’ First Set of Interrogatories) at 3.

           74.     There is no evidence that any Watson Defendant made any statement to Amazon in

   connection with the White Peaks transaction prior to consummation of the transaction.

           75.     IPI and Amazon have both acknowledged that Ramstetter and Camenson were

   acting on their own account. Ex. 19 (Vonderhaar 30(b)(6) Tr.) at 320:10-15; Ex. 14 (Gilpin Tr. at

   209:10-15.) Indeed, it is undisputed that they were aware that Ramstetter was unhappy with

   Northstar and was looking to branch out on his own. Id. at 210:18-211:9.



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          76.     After learning of the transaction, Mr. Watson threatened to sue Ramstetter and

   Camenson for usurpation of corporate opportunity, given Northstar’s intentional exclusion from

   the White Peaks transaction. Ex. 39 (Demand Letter (Oct. 2, 2019)).

          77.     Northstar terminated both Camenson and Ramstetter’s employment soon

   thereafter. See Ex. 40 (Lorman Tr.) at 74:14-76:22; Ex. 41 (White Peaks Confidential Settlement

   Agreement) at 1.

          78.     Northstar, Camenson, and Ramstetter engaged in mediation to settle the dispute,

   overseen by former Chief Justice of the Colorado Supreme Court, Nancy Rice. The parties settled

   the matter with Kyle Ramstetter and Will Camenson paying $5 million pursuant to a written

   settlement agreement. Ex. 7 (Watson Tr.) 359:20-360:1; Ex. 41 (White Peaks Confidential

   Settlement Agreement) at 1.

          79.     Watson did not pay any portion of that Settlement to the Villanova Trust, Nelson

   or either Kirschner brother. Ex. 15 (Lee Report ¶¶ 67, 79-84); Decl. of B. Watson ¶ 11. Amazon

   does not allege otherwise. See Dkt. 765. ¶ 240.

   V.     The Blueridge Transaction

          80.     In late 2019, Amazon purchased 100 acres in Northern Virginia for $83 million (the

   “Blueridge Transaction.” Dkt. 765. ¶ 245.

          81.     Amazon does not allege and has not presented any evidence that the Watson

   Defendants participated in or had knowledge of the Blueridge Transaction. Dkt. 765 ¶¶ 244-267




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                                         LEGAL STANDARD

             Summary judgment is appropriate where the pleadings, affidavits, and responses to

   discovery “show that there is no genuine issue as to any material fact and that the moving party is

   entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477

   U.S. 317, 323 (1986). A material fact is one “that might affect the outcome of the suit under the

   governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A disputed fact

   presents a genuine issue “if the evidence is such that a reasonable jury could return a verdict for

   the non[-]moving party.” Id. A summary judgment motion tests whether a claimant has sufficient

   evidence to prove its claim. Id. at 247. The district court may grant summary judgment if it

   concludes that the evidence would not permit a jury to return a verdict in favor of the nonmoving

   party. Variety Stores, Inc. v. Wal-Mart Stores, Inc., 888 F.3d 651, 659 (4th Cir. 2018). As such,

   summary judgment requires a plaintiff to present proof to satisfy each of the elements of its claims.

   “[T]he nonmoving party must rely on more than conclusory allegations, mere speculation, the

   building of one inference upon another, or the mere existence of a scintilla of evidence.”

   Humphreys & Partners Architects, L.P. v. Lessard Design, Inc., 790 F.3d 532, 540 (4th Cir. 2015)

   (internal quotation marks omitted) (quoting Dash v. Mayweather, 731 F.3d 303, 311 (4th Cir.

   2013)).

                                             ARGUMENT

             A. Plaintiffs Have No RICO Standing

             To maintain a RICO claim, a plaintiff must allege a RICO injury. Sedima v. Imrex Co.,

   473 U.S. 479, 496 (1985). A RICO plaintiff can only recover by showing that their property or

   business was damaged by the RICO violation. Id. See also, 18 U.S.C. § 1964(c); Dickerson V. TLC

   Laser Eye Ctr. Inst., Inc., 493 Fed.Appx. 390, 394 (4th Cir. 2012). The plaintiff must then show



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   that “he was injured in his business or property … by reason of the RICO violations. The injury

   and causation components are viewed as standing requirements.” D'Addario v. Geller, 264 F.

   Supp. 2d 367, 396 (E.D. Va. 2003). Thus, to determine whether a plaintiff has standing to bring a

   RICO claim, the Court must engage in “a traditional causation analysis.” Field v. GMAC LLC, 660

   F. Supp. 2d 679, 686 (E.D.V.A. 2008); see also Walters v. McMahen, 684 F.3d 435, 444 (4th Cir.

   2012) (“[T]he RICO predicate acts must not only be a ‘but for’ cause of a plaintiff's injury, but the

   proximate cause of that injury as well.”).

          Although “business” and “property” are not defined under RICO, these terms are not all-

   encompassing. Indeed, most courts have construed them narrowly to mean that there must be a

   pecuniary injury to a proprietary interest, and thus a plaintiff must show some sort of concrete

   financial loss. A “‘showing of injury’ [under the RICO statute] requires proof of concrete financial

   loss, and not mere injury to a valuable intangible property interest.” Steele v. Hosp. Corp. of Am.,

   36 F.3d 69, 70 (9th Cir. 1994) (internal quotations omitted); see also Maio v. Aetna, Inc., 221 F.3d

   472, 483 (3d Cir. 2000); McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 227 (2d Cir. 2008) (“A

   plaintiff asserting a claim under 18 U.S.C. § 1964(c) must allege actual, quantifiable injury.”)

   (emphasis in original). The injury must be ascertainable and definable. Courts agree that section

   1962(c) requires an injury that is not contingent on future events or speculative in nature. See, e.g.,

   Gomez v. Wells Fargo, N.A., 676 F.3d 655, 661 (8th Cir. 2012) (homeowners did not experience

   concrete financial loss simply because the lender charged the homeowners the fair market value

   of an appraisal, rather than the reduced appraisal price that the lender negotiated with the

   appraiser); Regions Bank v. J.R. Oil Co., LLC, 387 F.3d 721, 728 (8th Cir. 2004) (stating that a

   RICO injury requires proof of a concrete financial loss and not merely an injury to a valuable

   intangible property interest) (emphasis added).



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          Where a plaintiff has potential contract remedies, it must pursue them before it has a

   concrete RICO injury capable of conferring RICO standing. For example, “a creditor claiming

   that its ability to collect its debt has been impaired or frustrated by a RICO violation lacks standing

   to sue under RICO for the amount of the debt as long as the extent of the loss remains uncertain,

   as for example where collection efforts continue.” First Capital Asset Mgmt., Inc. v. Brickellbush,

   Inc., 219 F.Supp.2d 576, 578 (S.D.N.Y. 2002), aff'd, First Capital Asset Mgmt., Inc. v. Satinwood,

   Inc., 385 F.3d 159 (2d Cir. 2004). An allegedly defrauded plaintiff’s losses will be uncertain (and

   thus any “RICO injury is speculative [,] when contractual or other legal remedies remain which

   hold out a real possibility that the debt, and therefore the injury, may be eliminated or significantly

   reduced.” In re Merrill Lynch Ltd. P'ships Litig., 154 F.3d 56, 59 (2d Cir.1998); see First

   Nationwide v. Felt Funding Corp., 27 F.3d 763, 768 (2d Cir. 1994) (“[A] [RICO] plaintiff who

   claims that a debt is uncollectible because of the defendant's conduct can only pursue the RICO

   treble damages remedy after his contractual rights to payment have been frustrated.”); Motorola

   Credit Corp. v. Uzan, 322 F.3d 130, 136 (2d Cir. 2003) (finding plaintiff lender's RICO claims

   unripe where pending arbitration “and other conceivable contingencies” could abate plaintiff's

   losses because defendant is only liable for losses “actually suffered”). This requirement applies

   equally to non-contractual remedies. Motorola Credit Corp., 322 F.3d at 136; Harbinger Capital

   Partners Master Fund I, Ltd. v. Wachovia Capital Mkts., LLC, 347 Fed.Appx. 711, 713 (2d Cir.

   2009) (the “reasoning broadly extends to non-contractual remedies as well.”). In short, if an

   alternate route to recovery is available, a putative RICO plaintiff must pursue it first before any

   actual losses are sufficiently concrete to confer RICO standing. The rationale for that conclusion

   is fully demonstrated here, where Amazon fully mitigated its alleged harm before the Third

   Amended Complaint was filed.



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          The Supreme Court has further explained that the “by reason of requirement” mandates

   both proximate and but-for causation. Holmes v. Sec. Inv'r Prot. Corp., 503 U.S. 258, 268 (1992).

   Thus, the Plaintiff must show “an adequate causal nexus between the injury and the alleged

   predicate acts of racketeering activity.” Hessek v. N. Am. Mortg. Ins. Servs., No. Civ.A.

   2:02CV985, 2003 WL 23961817, at *4 (E.D. Va. Oct. 17, 2003). This requirement serves to “limit

   a person's responsibility for the consequences of that person’s own acts.” Holmes, 503 U.S. at 268.

   Amazon cannot meet either of those requirements in this case.

          Courts consistently have found that no RICO injury exists in similar alleged kickback cases

   and barred plaintiffs from proceeding to trial on those claims. See, e.g., State of W. Va. v. Moore,

   895 F.Supp. 864 (S.D.W.VA. 1995) (rejecting civil RICO claim based on kickbacks for lack of

   RICO injury); Township of Marlboro v. Scannapieco, 545 F.Supp.2d 452, 459 (D. N.J. 2008)

   (finding plaintiff lacked standing in RICO cased predicated on alleged bribery because

   “amorphous injuries to a right to its employees' honest services are not ‘concrete financial loss[es]’

   recoverable under RICO.”) (emphasis in original). In a comparable context, the Fourth Circuit has

   concluded that alleged kickbacks and deprivation of honest services did not constitute concrete

   injury under the Real Estate Settlement Procedures Act (RESPA). See Baehr v. Creig Northrop

   Team, P.C., 953 F.3d 244, 254 (4th Cir. 2020) (“[T]he deprivation of impartial and fair competition

   between settlement services providers—untethered from any evidence that the deprivation thereof

   increased settlement costs—is not a concrete injury under RESPA.”).

          Here, to have RICO standing, Amazon must provide evidence that it suffered

   particularized, concrete harm by paying above-market rates for the Lease Transactions as a result

   of a RICO predicate act. See Bowe v. Public Storage, 106 F.Supp.3d 1252, 1265 (S.D. Fla. 2015)

   (“Plaintiffs must now show at summary judgment that there is evidence establishing a genuine



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   issue of material fact that they in fact paid inflated prices for the PSTIP.”). As the court discussed

   in Bowe, a plaintiff in a real estate dispute could show a RICO injury by providing evidence of the

   extent to which the rents exceeded market value. 106 F.Supp.3d at 1264. Because they did not do

   so in that case, the court granted summary judgment. Other courts are in accord. See Sowell v.

   Butcher Singer, Inc., 926 F.2d 289, 297–302 (3d Cir. 1991) (affirming directed verdict where

   plaintiff failed to show the difference between the price paid for a security and the security’s true

   value where plaintiff had simply asserted that the stock was worthless); Maio, 221 F.3d at 494

   (affirming dismissal of complaint where plaintiffs had not shown that they “paid too much for the

   health insurance they received”); Ivar v. Elk River Partners, LLC, 705 F.Supp.2d 1220, 1235

   (D.Colo. 2010) (finding no RICO injury because the amount plaintiffs paid for property was the

   value of the property); Impress Cmmc'ns v. Unumprovident Corp., 335 F.Supp.2d 1053, 1064–65

   (C.D.Cal. 2003) (dismissing complaint where plaintiffs failed to demonstrate that paying insurance

   premiums constituted a RICO injury where there was no proof that “the benefits given were less

   than those purchased with the premiums”); Heinold v. Perlstein, 651 F.Supp. 1410, 1412 (E.D.Pa.

   1987) (finding no RICO injury where plaintiff conceded that he did not pay more than fair market

   value for a diamond ring, but was told that the ring could be resold for a higher amount).

          Amazon cannot meet these standards. Amazon admits that it has not done any market

   analysis of the Lease Transactions or Direct Purchase Transactions. Statement of Undisputed

   Material Facts, supra (“SUMF”) ¶¶ 35-36, 45.5 Amazon has made no attempt to show that it paid

   above-market prices for any of the property at issue. Plaintiffs have not produced or adduced any

   evidence of market prices. To the contrary, as to the Lease Transactions, there is evidence that the



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    With respect to IAD175, no damages could have been a result of any RICO predicate act
   because Amazon admits that it entered into the transaction after having knowledge of the alleged
   kickbacks, thus there is no reliance or causation. SUMF ¶ 29.
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   values of the properties at issue exceed the prices paid. See SUMF ¶¶ 34-35. There also is

   evidence that the properties came in on time and under budget. SUMF ¶¶ 38-40. Amazon has

   kept each of the properties and intends to keep them. SUMF ¶¶ 43, 46-50. Although Amazon

   contends that the rents in the Leases were inflated, it did not do so in reference to any market

   comparisons.

                                                                                               Ex. 19

   (Vonderhaar 30(b)(6) Tr.) at 127:18-128:9; 132:5-20. As to the other Lease Transactions, Mr.

   Vonderhaar similarly admitted that Amazon did not have external evidence suggesting that the

   price should have been lower. Id. at 134:14-1135:5.

          As Amazon admits, even in negotiating the Amended and Restated Leases with IPI, it “did

   not conduct a separate market analysis during the settlement negotiations.” SUMF ¶ 45 (citing

   Amazon Supplemented Initial Disclosures at 4). Nor has it done so since that agreement with IPI.

   The reason that it did not do so is obvious: it would have proved that the Leases were always at or

   below market prices. See also SUMF ¶¶ 34-37. Indeed, given the case law cited above and the

   arguments made by Defendants previously, Amazon’s choice to completely ignore the market

   value of the leased properties is particularly telling. Amazon has demonstrated repeatedly that the

   properties it purchased and/or leased are valuable and that it fully intends to keep them. It has

   absolutely no evidence that the Lease Transactions were at above market rates or cost. In short, it

   has no concrete financial injury that would provide it with standing to continue its RICO claims,

   especially as to the Lease Transactions. The lack of evidence that Amazon paid over market price

   is alone dispositive of Amazon’s RICO claim.

          The basis for Amazon’s contention of harm are the fees paid to the Watson Defendants.

   Although that theory is legally flawed because it does not account for market price, Amazon



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   rendered it entirely irrelevant by modifying the leases with the landlords to reduce the rent and to

   retroactively account for any alleged overpayments. See SUMF ¶¶ 45-46. That Agreement

   eliminated even Amazon’s own flawed model of damages. Given that, Amazon conceded that it

   has no actual damages on the Lease Transactions. SUMF ¶ 45 (citing Amazon initial disclosures).




                        See Hamlin Decl., Ex. 15 (“Lee Report”) at 40. There is no factual basis to

   believe that the market value of the rent would have been lower than under the actual leases; Mr.

   Lee simply assumes that it would have been.



                      SUMF ¶¶ 35-36. Mr. Lee’s assumption is just that: an assumption without any

   factual basis.

           Mr. Lee further contends that Amazon suffered harm from a broker rebate that was paid to

   Northstar. Lee Report at 40. Amazon did not claim this rebate as damages in any of its multiple

   complaints or in any disclosure provided to the Defendants. This disclosure was not only late, it

   is insufficient to provide a RICO injury because the alleged injury is not causally linked to any

   alleged act of racketeering. See Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505,

   513 n.10 (4th Cir. 2002) (affirming the exclusion of testimony concerning damages where such

   damages had not been properly disclosed). Nor is there any evidence that the broker rebate was

   owed to Amazon or that the Watson Defendants committed any act of racketeering with respect to

   that broker payment. Not only is there no evidence of this, it is not even alleged in the Complaint.




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          Finally, Amazon admits that all of those alleged economic harms were mitigated: “Amazon

   and IPI entered into a Confidential Settlement Agreement dated December 27, 2021, which

   effected a retroactive reduction in Amazon’s rents on the relevant leases and mitigated the

   economic harm to Amazon caused by the Lease Transactions.” Lee Report at 12. Although he

   notes it, Mr. Lee ignores the IPI Agreement, which completely eliminated any hypothetical harm

   to Amazon. See Lee Report at 12, n. 5 (“The economic harm calculations in this report do not

   include mitigation via the Confidential Settlement Agreement, which is addressed in Paragraphs

   37 and 45. I was not asked to opine on Amazon’s recoverable damages.”). Therefore, Amazon’s

   belated attempt to manufacture RICO standing is insufficient to maintain its RICO claims against

   the Watson Defendants.

          Amazon also has claimed that its damages consist of approximately $16 million in

   connection with the Direct Purchase Transactions. This claim suffers from the same flaw; it is

   completely divorced from any allegation or evidence that Amazon paid more than market prices

   for the properties. SUMF ¶ 53. Nonetheless, Amazon contends that the $5 million settlement to

   the Watson Defendants concerning the White Peaks purchase was a “kickback” and that the

   Watson Defendants should be held liable for fraud, RICO, and other torts with respect to those

   transactions. But the evidence is undisputed that no portion of the settlement payment went to

   anyone at Amazon. See SUMF ¶ 79, Lee Report at 59-60. As such, there is no way that it could

   be a kickback or have unduly influenced anyone at Amazon or otherwise. Amazon has not shown,

   and cannot show, a RICO injury that was proximately caused by any action of the Watson

   Defendants. Without a causal nexus between the alleged injury and the alleged RICO act, there is

   no RICO injury. Amazon has no RICO claim or standing to pursue a RICO claim against the

   Watson Defendants.



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          B. The Watson Defendants Were Not Part of Any Direct Purchase

          Amazon contends in its Third Amended Complaint that the Watson Defendants are liable

   for, and directed, the actions of Ramstetter and Camenson in connection with White Peaks. Dkt.

   765 ¶ 271. Amazon has alleged that Northstar should be liable for the conduct of its former

   employees, Camenson and Ramstetter, under a respondeat superior theory. Under Virginia law,

   an employer may be “responsible for an employee’s tortious act if that act was within the scope of

   the duties of the employment and in the execution of the service for which the employee was

   engaged.” Giant of Md., Inc. v. Enger, 257 Va. 513, 516-17, 515 S.E.2d 111, 112 (1999) see also

   Parker v. Carilion Clinic, 296 Va. 319, 335, 819 S.E.2d 809, 819 (2018) (“[A]n employer is liable

   for the tortious act of his employee if the employee was performing his employer's business and

   acting within the scope of his employment.”). Respondeat superior liability does not extend to an

   employer for an unauthorized tortious act by an employee arising “from some external,

   independent, and personal motive on the part of the [employee] to do the act upon his own

   account.” Smith v. Landmark Commc’ns, Inc., 246 Va. 149, 151-52, 431 S.E.2d 306, 307-08 (1993)

   (citation omitted). To prevail, a plaintiff must prove that the employee “committed the tort while

   actively engaged in a job-related service.” Id.

          Here, however, the evidence is undisputed that the Watson Defendants had no role in or

   knowledge of the White Peaks transaction prior to its consummation. The evidence is similarly

   undisputed that Ramstetter and Camenson were acting for their own account and concealed that

   activity from the Watson Defendants. The contracts for the White Peaks transactions do not list

   Northstar or any Northstar-related entity. SUMF ¶¶ 71-75. There is no evidence that the former

   employees were acting for Northstar at that time they negotiated or entered the contracts. Id. As

   Amazon alleges, Northstar had no idea of the White Peaks transaction at that time and confronted



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   them six weeks after the deal was publicized in the Washington Business Journal. Dkt. 765 ¶ 232.

   The evidence confirms this lack of knowledge. Far from acting on Northstar’s behalf, Northstar

   “accused Ramstetter of engaging in a side deal with Northstar’s ‘largest client.’” Id. ¶ 233.

           Luke Gilpin of IPI testified that he knew that Kyle Ramstetter was acting on his own

   account when dealing with White Peaks. See Ex. 14 (Gilpin Tr.) at 209:7-15:

           Q. Did Kyle approach you with potentially funding the White Peaks deal?
           A. He talked to us about it in May or 9 June of 2019ish I think.
           Q. And he was -- when he approached you in May or June of 2019 he was doing it
           on his own account, right?
           A. Yes.
           Q. Not on behalf of Northstar?
           A. That's correct.

   Id. He further testified that he knew that Kyle Ramstetter was attempting to leave Northstar.

           Q. [D]id you inform Northstar that Kyle was negotiating on his own behalf for an
           Amazon deal?
           A. No.
           Q. Why not?
           A. This is someone that I worked with every day who I thought was vital to getting
           those projects done who again confided in me that he was upset with his boss and
           Northstar and he wanted to leave and he wanted to [d]o deals without Northstar and
           Northstar was hindering him.

   Id. at 210:19-211:6. Mathew A’Hearn of IPI similarly testified that he had discussions with

   Ramstetter and Nelson concerning White Peaks and both made clear that it was not a Northstar

   deal:

           Q. … You mentioned that in your discussions with Mr. Nelson you wanted to make
           sure that he was okay with your having some role in that transaction given that you
           were working with Northstar on other transactions, and that only made sense to me
           … if this was a Northstar transaction that wouldn't be an issue, right?
           A. Correct.
           Q. So it was your understanding this was not a Northstar deal?
           A. Correct

   Ex. 22 (A'Hearn Tr.) at 154:17-155:3. This evidence is undisputed. Ramstetter was seeking to

   strike out on his own and do deals without Brian Watson’s knowledge or control. Far from

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   directing the White Peaks transaction, Brian Watson was explicitly and intentionally excluded

   from it. It is undisputed that Northstar and Watson, upon learning of the White Peaks transaction,

   threatened to sue Camenson and Ramstetter and ultimately terminated their employment with

   Northstar.

          Finally, there were no referral fees paid by Northstar in connection with the White Peaks

   transaction. SUMF ¶¶ 71, 79. Pursuant to the independent contractor agreement, Northstar paid

   fees to Christian Kirschner/Villanova Trust in connection with the Lease Transactions. SUMF

   ¶ 55. If White Peaks had been a Northstar deal, it would have made sense for the Villanova Trust

   to receive referral fees under the Independent Contractor Agreement. That never happened.

   Indeed, Amazon alleges an entirely different arrangement for disbursement of the alleged profit

   on that deal. It does not offer any evidence, because there is none, that the Watson Defendants

   paid anything to any Amazon employee or other third party in connection with White Peaks.

          Amazon offers no evidence to rebut this. When asked, Amazon’s Vice President, AWS

   Data Centers, Chris Vonderhaar could not identify any evidence that Brian Watson knew about

   the White Peaks transaction and admitted that he did not know what Watson’s intent was.

   Vonderhaar 3/23 Tr. at 320:10-15. Mr. Vonderhaar testified again in September 2022 as a 30(b)(6)

   representative and still could not identify any such evidence. The only evidence that he could offer

   was that the transaction was negotiated by Kyle Ramstetter. Ex. 19 (Vonderhaar 30(b)(6) Tr.) at

   392:12-393:15. In response to a follow up question concerning whether Ramstetter was acting on

   behalf of Northstar, however, Mr. Vonderhaar admitted that “I don't recall evidence that he

   engaged on behalf of Northstar. In fact, I think he -- he -- he engaged directly and independently

   to some degree.”    Id. at 393:21-394:5. He nonetheless insisted, that Ramstetter did so “as an

   employee of Northstar.” When pressed, Mr. Vonderhaar further admitted that he was unaware of



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   any evidence that Watson or Northstar knew of the White Peaks transaction before it closed. Id.

   at 396:12-397:4. Finally, Mr. Vonderhaar admitted that “Mr. Watson was not included in the deal,

   he was not happy about that. And then I'll say an argument, disagreement appears to have

   ensued…” Id. at 400:3-21.

          In short, there is no evidence that the Watson Defendants took part in the White Peaks

   transaction or that Ramstetter or Camenson were acting for Northstar. All of the evidence shows

   that Ramstetter and Camenson were acting on their own account.              Moreover, the Watson

   Defendants certainly did not participate in any RICO predicate act in connection with that

   transaction. There is no evidence that they did anything other than engage in a judicially

   supervised mediation with Camenson and Ramstetter that resulted in a settlement. SUMF ¶ 78.

   Any harm that befell Amazon in connection with the White Peaks transaction had nothing to do

   with Mr. Watson or the Watson Defendants (though there is no evidence of any such harm).

          The other Direct Purchase Transaction alleged by Amazon is the Blueridge Transaction.

   There is no evidence that the Watson Defendants had anything to do with that transaction

   whatsoever. SUMF ¶¶ 80-81. Indeed, Amazon does not even allege it.

          As to the Direct Purchase transactions, the Watson Defendants cannot be held liable on any

   of the theories alleged by Amazon and summary judgment is appropriate as to the Watson

   Defendants.

          C.      Defendants Did Not Form An Enterprise

          That the Watson Defendants were separate and apart from the Direct Purchase Transactions

   underscores another critical failure of Amazon’s claims. There is no RICO enterprise. Amazon

   contends that the Defendants formed an association in fact enterprise. But the evidence shows

   clearly that the parties did do so. Instead, different parties engaged in different transactions that



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   had no common purpose. This critical failure mandates summary judgment in favor of the Watson

   Defendants on Amazon’s RICO claim.

          A violation of 18 U.S.C. 1962(c) of the Racketeer Influenced and Corrupt Organizations

   Act (“RICO”) requires proof that the defendant conducted an enterprise through a pattern of

   racketeering activity. Sedima, 473 U.S. at 496. Amazon claims that all Defendants “constitute an

   association-in-fact RICO enterprise.” (Dkt. 765 ¶379.) In other words, according to Amazon, “at

   least Defendants WDC Holdings LLC dba Northstar Commercial Partners, Northstar’s founder

   and CEO Brian Watson, Sterling NCP FF, LLC, Manassas NCP FF, LLC, NSIPI Administrative

   Manager, NOVA WPC LLC, White Peaks Capital LLC, Villanova Trust, Carleton Nelson, Casey

   Kirschner, AllCore Development LLC, Finbrit Holdings LLC, Cheshire Ventures LLC, ; 2010

   Irrevocable Trust; Sigma Regenerative Solutions LLC; CTBRSM Inc.; Rodney Atherton;

   Demetrius Von Lacey; and Renrets LLC formed an association-in-fact enterprise. The undisputed

   facts establish, however, that Defendants were not an association-in-fact enterprise.

          First, Amazon does not disclose how this large group was associated or what enterprise

   was formed. Their allegations boil down to: “we have sued a lot of people.” They do not point to

   any organizing principle, roles, or responsibilities within the alleged enterprise and there is no

   evidence concerning any of that. The evidence adduced in discovery has not filled this gap. To

   the contrary, they added Atherton and Von Lacey to their complaint and alleged them to be an

   enterprise despite there being no evidence that the Watson Defendants interacted with them.

          Second, the members of an association in fact enterprise must share a purpose. Boyle v.

   United States, 556 U.S. 938, 946 (2009). To establish a shared “purpose” evidence must establish

   a common venture, undertaking, or project. Id.         Amazon contends that “Each Defendant

   participated in the operation or management of the kickback scheme (the “RICO Enterprise”),



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   which includes but is not limited to the Lease Transaction conduct and Direct Purchase conduct

   alleged herein.” Dkt. 765 ¶ 379. But the facts demonstrate that this is false. The Watson

   Defendants had no involvement in the Direct Purchase transactions and did not even know of them

   until after the fact. Indeed, Amazon alleges that different parties participated in those transactions

   pursuant to a different scheme.       See, e.g., Lee Report at Ex. 1 (showing separateness of

   transactions).

          Amazon contends that the Defendants shared a “common purpose of profiting from the

   acquisitions, investments, and business activities of at least Amazon and its business partners and

   investors through perpetration of kickbacks and other unlawful acts …” Dkt. 765 ¶ 381. The

   undisputed facts, however, undermine this assertion. Key to the common purpose requirement is

   whether all members of the enterprise shared in the enterprise’s profits. In United States v. Pinson,

   860 F.3d 152 (4th Cir. 2017), the enterprise consisted of Pinson and several associates who

   engaged “two separate conspiracies”: (1) to defraud local and state agencies and (2) to defraud

   South Carolina State University. Id. at 162. Pinson was the only enterprise member common to

   both conspiracies. Id. The Fourth Circuit vacated Pinson’s RICO conviction:

          … [T]he evidence in this case is insufficient … to prove an association-in-fact
          enterprise consisting of a “group of persons associated together for a common
          purpose of engaging in a course of conduct.” [Citation omitted.] The purpose of
          each venture here was to enrich its members, yet any fruits of these ventures
          accrued only to members of each venture. Any illicit profits did not carry over to
          the members of other ventures. Indeed, given the lack of overlapping membership
          between the ventures, any such profits could not carry over.

   Id. (emphasis in original) (quoting United States v. Turkette, 452 U.S. 576, 583 (1981)).6 Here, it

   is undisputed that all members of the purported AIF enterprise did not share in the profits of the



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     See also Vuyyuru v. Jadhav, Action No. 3:10BCVB173, 2011 WL 1483725, at *19 (E.D. Va.
   Apr. 19, 2011), aff’d, 501 Fed.Appx. 294 (4th Cir. 2012), cert. denied, 570 U.S. 918 (2013)
   (holding that a “single super enterprise” was not actionable because the plaintiff failed to
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   purported real estate schemes. Essentially, Amazon has alleged disconnected transactions and

   attempted to lump all defendants into a single enterprise because certain Amazon employees

   allegedly participated in each of those transactions.      But it is undisputed that the Watson

   Defendants knew nothing about the entities that Atherton created for Nelson or Kirschner and had

   no interaction with them. Moreover, it is undisputed that the Watson Defendants had nothing to

   do with the Direct Purchase transactions. Plaintiffs cannot manufacture an enterprise by lumping

   together distinct groups that have distinct purposes. The only pattern supported by the evidence

   adduced in discovery (and as alleged by Amazon) is that of a “hub and spoke” structure.

          Hub and spoke structures are insufficient to proceed in a RICO case. See Donaldson v.

   Primary Residential Mortg., Inc., Civil Action No. ELH-19-1175, 2020 WL 3184089 (D. Md.

   June 12, 2020) (slip op.) (dismissing RICO claim based on alleged kickbacks). The Court in

   Donaldson described hub and spoke conspiracies aptly:

          Defendant is correct that the essence of the enterprise alleged in the Complaint is
          inescapably one of the “hub and spoke” variety, in which the mortgage lenders
          (here, the spokes), comprise an association in fact with All Star (the hub). See
          Dickson v. Microsoft Corp., 309 F.3d 193, 203 (4th Cir. 2002) (“A rimless wheel
          conspiracy is one in which various defendants enter into separate agreements with
          a common defendant, but where the defendants have no connection with one
          another, other than the common defendant's involvement in each transaction.”).

   Id. at *26. But here, as with the situation in Donaldson, the Complaint and subsequent discovery

   provide no basis for believing the spokes are in any way connected to each other as is necessary

   to form a RICO enterprise. In Donaldson, the RICO dismissal was accompanied by the Court’s

   clear assessment that routine “bilateral” transactions are not the stuff of civil RICO claims:




   demonstrate that all members shared a common purpose); Baldino’s Lock & Key Service, Inc. v.
   Google, Inc., 88 F. Supp.3d 543, 549 (E.D. Va. 2015), aff’d, 624 Fed.Appx. 81 (4th Cir. 2015)
   (the plaintiff’s alleged common purpose “lack[ed] factual support to make the theory more than
   speculative”).
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          Significantly, the Complaint is devoid of facts connecting the spokes. In other
          words, the Complaint is bereft of allegations suggesting that the participating
          mortgage lenders were working together in furtherance of the scheme or, indeed,
          that they were even aware of each other's existence. See In re Ins. Brokerage
          Antitrust Litig., 618 F.3d 300, 374 (3d Cir. 2010) (noting that an asserted hub and
          spoke conspiracy without a rim was “fatally defective”).
                                                ***
          Accordingly, I conclude that plaintiffs have failed plausibly to allege a RICO
          enterprise.”

          Amazon has no evidence to prove a “rim” connecting the Northstar Defendants, the White

   Peaks Defendants, and the participants in the Blueridge transaction. Each group engaged in

   distinct transactions, with different structures, for their own profit, as opposed to somehow

   benefitting the entire “enterprise.” As discussed above, there is considerable evidence that the

   Watson Defendants did not participate or know of the White Peaks or Blueridge transactions. This

   absence of a common purpose or connection between the alleged enterprise’s rim is a fundamental

   flaw in Amazon’s RICO claim. As made clear in Pinson, the Fourth Circuit rejects RICO claims

   where, “any fruits of these ventures accrue[ ] only to members of each venture” and do “not carry

   over to the members of the other ventures.” Id. at 162. In other words, the bilateral transactions

   with a common victim have no financial benefit for the alleged organization as a whole.

          The Watson Defendants were not participants in each of the transactions and indisputably

   had no role in either of the Direct Purchase Transactions. As such, just as in Pinson, Amazon’s

   allegations and evidence demonstrate (if anything) multiple ventures, which disproves any

   overarching association in fact enterprise. The RICO claim must also be dismissed for this reason.

          D.      The Alleged RICO Scheme Lacks Continuity

          The RICO claim fails because Amazon cannot prove either open ended or closed

   continuity. “Closed continuity” had to be established on an individualized basis: “[p]redicate acts

   extending over a few weeks or months and threatening no future criminal conduct do not satisfy


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   this requirement.” H.J. Inc. v Nw. Bell Tel., 492 U.S. 229, 242 (1989). Here, the limited scope of

   the alleged conduct, the small number of participants, and the short length of the scheme all

   establish that the Plaintiffs’ theory of a closed continuity pattern of racketeering activity is

   deficient. The allegations and evidence that are presented here simply do not rise to the level

   required to pursue a civil RICO action, as a matter of well-established law in this Circuit. See Flip

   Mortg. Corp. v. McElhone, 841 F.2d 531, 538 (4th Cir. 1988); see also Al-Abood v. Elshamari,

   217 F.3d 225, 238–39 (4th Cir. 2000) (concluding that RICO treatment was not appropriate where

   the main predicate acts, those being mail and wire fraud, involved one victim, even though there

   was more than one scheme over a period of several years); Anderson v. Found. For Advancement,

   Educ. & Emp’t of Am. Indians, 155 F.3d 500, 506 (4th Cir. 1998) (continuity element of RICO’s

   pattern requirement not satisfied where telephone and mail services used to defraud one party).

          The evidence confirms Amazon’s inability to prove continuity.            As to the Watson

   Defendants, Amazon has alleged a single, short-lived scheme. Amazon concedes that it is the only

   RICO “victim,”7 and (erroneously) complains of a scheme to defraud that victim, by cheating the

   competitive bidding process through kickback payments. The period of time was limited and is

   incapable of repetition.

          In contrast, in Tudor Associates, Ltd., II v. AJ and AJ Servicing Incorporated, the

   fraudulent scheme lasted over ten years and involved millions of dollars, but the Fourth Circuit

   nonetheless upheld the trial court’s summary judgment as the alleged conduct constituted a single

   scheme to inflict a single injury on a single victim, ruling it did “not rise to the level of conduct




   7
      The two Amazon Plaintiffs together constitute a “single victim” for RICO purposes: “[A]
   corporate entity is generally treated as a single victim for purposes of civil RICO
   liability.” Whitney, Bradley & Brown, Inc., 436 F. App’x at 262.

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   necessary to support a RICO recovery.” 36 F.3d 1094, at *4 (4th Cir. Sept. 20 1994) (unpublished

   table op.); see also Aggarwal v. Sikka, No. 1:12cv60, 2012 WL 12870349, at *4 (E.D. Va. June

   12, 2012) (citing Menasco, Inc v. Wasserman, 886 F.2d 681, 684 (4th Cir. 1989) (“The Fourth

   Circuit has repeatedly held that continuity is not established, even where there are multiple acts of

   mail or wire fraud, if there is only a narrow scheme for a limited time with few victims and an

   inherent end-point.”)). There is no continuity alleged here.

          Contrary to Amazon’s contentions, there is no continuing threat of injury, assuming for the

   moment there has been any past injury. The undisputed evidence is that the Watson Defendants

   were engaged in a handful of lease transactions, but that Amazon already had determined to

   remove Northstar from those transactions independent of any alleged kickbacks. SUMF ¶ 42

   (Klein at 326:25-328:5 (“In 2019, I asked him to remove Brian Watson and Northstar from all

   developments for Amazon.”)). Nelson was fired for other reasons. SUMF ¶ 6. As to the alleged

   direct purchase transaction, Amazon admits that Watson fired Camenson and Ramstetter after

   learning that they had usurped a Northstar corporate opportunity. Dkt. 765 ¶ 237. Amazon also

   has fired its own allegedly involved employees. All of the individuals involved have left or been

   removed from the positions that supported the alleged scheme.

          Independent of those actions, Amazon is and was in full control of its real estate needs and

   acquisitions. The Watson Defendants could not mandate future transactions. Nor could Carl

   Nelson or Casey Kirschner. As a result, there is no risk that there will be any future direct purchase

   transaction involving these parties (even assuming Amazon desires to purchase more data center

   property). Nor is there any risk of future lease transactions. The alleged predicate acts took place

   briefly at contract formation and even the life of the overall transactions occupied a short time.

   The limited real estate transactions involved here do not support continuity for RICO purposes.



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   Given these undisputed facts, Amazon cannot satisfy either prong of the continuity test to support

   its RICO claim and summary judgment in favor of Defendants is appropriate.

          D. The Watson Defendants Are Entitled to Judgment on Amazon’s Fraud Claim

          To prevail on its fraud claim (Count III), Amazon must prove by clear and convincing

   evidence the following elements: “(1) a false representation, (2) of a material fact, (3) made

   intentionally and knowingly, (4) with intent to mislead, (5) reliance by the party misled, and (6)

   resulting in damage to the party misled.’” Richmond Metro. Auth. v. McDevitt St. Bovis, Inc., 256

   Va. 553, 557-58, 507 S.E.2d 344, 346 (1998) (quoting Evaluation Research Corp. v. Alequin, 247

   Va. 172, 175, 439 S.E.2d 387, 390 (1994)). Amazon’s fraud claim essentially states a fraudulent

   inducement claim related to the Lease Transactions and the White Peaks Transaction.

          As an initial matter, the Watson Defendants are entitled to summary judgment on Count

   III with respect to the White Peaks Transaction. The evidence is undisputed that the Watson

   Defendants were unaware of the White Peaks Transaction and made no representations to Amazon.

   See supra at 26-30. Accordingly, the Watson Defendants are entitled to summary judgment as to

   the White Peaks portion of Amazon’s fraud claim.

          Although the parties dispute the existence of any false statement and other factors with

   respect to the Lease Transactions, the evidence is undisputed that Amazon has no actual damages.

   Damages are an integral part of any fraud claim. Id. Virginia law and federal civil law follow the

   “actual loss” rule for fraud and requires damages as an element of the fraud. ITT Hartford Grp.,

   Inc. v. Va. Fin. Assocs., Inc., 258 Va. 193, 203, 520 S.E.2d 355, 361 (1999) (to support a claim of

   fraud, the plaintiff must prove resulting damage to the complaining party); Lloyd v. Smith, 150 Va.

   132, 149, 142 S.E. 363, 367 (1928) (“the facts showing the fraud and the resulting damage must

   be alleged”); Brown v. Gilner, No. 1:10-cv-00980 (AJT/IDD), 2012 WL 4473086, at *4 (E.D. Va.



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   Sept. 25, 2012). As discussed above, damages with respect to transactions of this type must be

   proven by reference to the market price. See supra at 22-24. Rather than allege how any particular

   property was leased or purchased at above-market prices, Amazon seeks to keep its contracts and

   further demands as damages all amounts paid to any Defendant by any party. But that is not how

   fraudulent inducement damages work. If it could prove its claim, it would have been entitled to

   rescind the contract. See Abi-Najm v. Concord Condo., LLC, 280 Va. 350, 362, 699 S.E.2d 483,

   489 (2010) (“A false representation of a material fact, constituting an inducement to the contract,

   on which the purchaser had a right to rely, is always ground for rescission of the contract.”).

   Otherwise, it can only recover to the extent that it proves it paid in excess of the market price – a

   fact as to which Amazon has no evidence and as to which the existing evidence suggests that

   Amazon did not pay above market.

          Although Amazon seeks to have its cake and eat it too, it has conceded that it has no actual

   damages in connection with the Lease Transactions. Accordingly, Amazon seeks, primarily,

   damages for unjust enrichment or disgorgement. Since Amazon has no “actual loss” with respect

   to its fraud claim against the Watson Defendants, those defendants are entitled to summary

   judgment on Count III.

          E. Defendants Are Entitled to Summary Judgment on Amazon’s Detinue Claims

          In Count II, Amazon seeks damages for detinue. Detinue is a Virginia statutory remedy

   for the pretrial seizure of property. As such, it is moot at this point in any case. Nonetheless, to

   the extent still viable, to maintain a claim for detinue under Virginia law, a plaintiff must show,

   among other elements, that plaintiff has a property interest in specific personal property capable

   of identification. Va. Code § 8.01-114(A)(1); see also York v. Jones, 717 F. Supp. 421, 427 (E.D.

   Va. 1989); MacPherson v. Green, 197 Va. 27, 32, 197 S.E.2d 785, 789 (1955) (stating that detinue



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   is “a possessory action having for its object the recovery of specific personal property”). Although

   money may be deemed specific personal property for purposes of detinue, the money in such cases

   must be easily susceptible to ready and positive identification, see, e.g., United States v. Moffitt,

   Zwerling & Kemler, 875 F. Supp. 1190, 1198 (E.D. Va. 1995), as where the personal property

   sought is a specific bundle of two-dollar bills or currency bearing specific serial numbers. Amazon

   has not provided evidence to support its detinue claim. Amazon alleges that the “[t]hrough the

   Lease Transaction portion of the RICO Enterprise, the Defendants received $15,263,163 from their

   illicit agreement on the Lease Transactions.” Dkt. 765 ¶ 456.

          Amazon has offered no evidence that its funds in this amount were in possession of the

   Watson Defendants. Indeed, Amazon has not identified specific property, but an amount that it

   intended to seek as damages. Discovery has borne out the Defendants’ contentions as set forth in

   their original motion to dismiss. Amazon does not now contend that any of its money was in the

   hands of Defendants. Its expert opined that Amazon had economic harm of $1,330,360 on the

   Lease Transactions, but Amazon seeks damages only for unjust enrichment.

          Amazon does contend that Northstar received total payments of $15,375,305 on the Lease

   Transactions, but none of those funds came from Amazon. SUMF ¶¶ 24, 30-31. Rather, those fees

   were paid by the Special Purpose Ownership Entities pursuant to valid arms’-length contracts and

   approved budgets for the payment of fees. Id. It is undisputed that the fees paid to Northstar came

   primarily from the Special Purpose Ownership Entities (financed through equity and debt taken

   on by the developer) and were not paid by Amazon. SUMF ¶ 31; Lee Report at Exs. 5-7 (showing

   that all but two payments to Northstar came from non-Amazon sources/ Citywide Bank accounts).

   Moreover, the fees and payments identified by Amazon were almost entirely paid before Amazon

   began paying rent. SUMF ¶ 31. Amazon only occupied four data centers prior to reformation of



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   the leases, and began paying rent on those centers on November 1, 2018, March 6, 2019, June 17,

   2019, and November 6, 2019 respectively. SUMF ¶ 32, 43. All of the leasing, entitlement, and

   acquisition fees, totaling $13,536,647 were paid before those dates (or minimally before Amazon

   had paid sufficient rent to fund them). See SUMF ¶ 31; Lee Report at Ex. 5.

          Even when Amazon began paying rent, most of its rent payments were used to service

   lender debt, with only a small portion being paid to the landlord’s equity investors. SUMF ¶ 33.

   None of the rental payments were paid directly to Northstar or Mr. Watson. As such, only a

   miniscule portion of Amazon’s payments, if any, could have made their way to the Watson

   Defendants. This undisputed evidence demonstrates that the Watson Defendants were not in

   possession of any property of Amazon’s (wrongfully or otherwise). As a result, summary

   judgment in favor of the Watson Defendants on Count II is appropriate.

          F. Amazon’s Tortious Interference Claim Fails

          Amazon’s Tortious Interference claim is ripe for summary judgment. In Virginia, a

   tortious interference claim requires proof demonstrating (i) the existence of a valid contractual

   relationship or business expectancy; (ii) the interferor’s knowledge of the relationship or

   expectancy; (iii) intentional interference inducing or causing a breach or termination of the

   relationship or expectancy; and (iv) resulting damage. Schaecher v. Bouffault, 290 Va. 83, 106,

   772 S.E.2d 589, 602 (2015) (citing Chaves v. Johnson, 230 Va. 112, 120, 335 S.E.2d 97, 101

   (1985)). If the contract is terminable at will or involves only a contract or business expectancy,

   the injured party must allege and prove not only an intentional interference, but that the tortfeasor

   employed improper methods, such as defamation, fraud, misrepresentation, or deceit. Dunlap v.

   Cottman Transmission Sys., LLC, 287 Va. 207, 216, 754 S.E.2d 313, 318 & n.5 (2014) (quoting

   Dunn, McCormack & MacPherson v. Connolly, 281 Va. 553, 559, 708 S.E.2d 867, 870 (2011)).



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   Plaintiffs cannot meet this standard.

          Amazon contends that the Watson Defendants interfered with the employment contracts of

   Nelson and Kirschner. Dkt. 765 ¶ 505. Although not expressly stated, the Watson Defendants only

   could have done so, if at all, on the Lease Transactions because they had no involvement in the

   Direct Purchase Transactions. As to Nelson, Amazon admits that it fired him in 2019 without

   regard to any action of the Watson Defendants. That alone is sufficient to support judgment in

   favor of the Watson Defendants.

          In any case, because Amazon has subsequently conceded that it has no damages on the

   Lease Transactions, see supra at 24, Amazon cannot prove the damage element of its tortious

   interference claim and it is subject to summary judgment.8

          G. The Watson Defendants Should be Granted Judgment on Amazon’s Civil
             Conspiracy Claim

          Amazon’s civil conspiracy claim against the Watson Defendants fails for the same reason

   that its RICO claim fails; Amazon has no damages proximately caused by the Watson Defendants.

   Virginia recognizes a claim for conspiracy where “two or more persons who combine, associate,

   agree, mutually undertake or concert together for the purpose of (i) willfully and maliciously

   injuring another in his reputation, trade, business or profession by any means whatever or (ii)

   willfully and maliciously compelling another to do or perform any act against his will, or

   preventing or hindering another from doing or performing any lawful act.”. See Va. Code Ann.

   §§ 18.2-499 to 501. To recover damages under Section 18.2-500, a claimant must prove (i) a

   combination of two or more persons for the purpose of willfully and maliciously injuring the

   claimant in his or her business; and (ii) resulting damages. Jordan v. Hudson, 690 F. Supp. 502,



   8
    The Watson Defendants further adopt and incorporate the arguments made by other defendants
   with respect to the lack of a breach of contract.
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   507–08 (E.D. Va. 1988) (quoting Allen Realty Corp. v. Holbert, 227 Va. 441, 449, 318 S.E.2d 592,

   596 (1984)). Here, there is no evidence that Amazon was harmed by any act of the Watson

   Defendants or that the Watson Defendants had any intention to harm Amazon.

          Further as set forth above, the evidence does not support Amazon’s contentions that all the

   Defendants reached any agreement. Rather, as discussed above, the evidence shows multiple

   groups pursuing independent transactions.9 Accordingly, the Court should grant summary

   judgment to the Watson Defendants.

          H. Amazon’s Unjust Enrichment and Constructive Trust Is Subject to Summary
             Judgment

          Amazon has dropped its contract claims and now seeks to proceed only on its tort and

   quasi-contractual claims. Amazon can no longer pursue its contract claims because it has affirmed

   the contracts with the landlord entities. In doing so, it has completely undercut any argument that

   there has been unjust enrichment.

          The IPI/Northstar joint ventures were parties to binding contracts with Amazon that have

   since been affirmed.10 Amazon makes rent payments under those contracts. The JV entities paid




   9
     Notably, Amazon’s civil conspiracy claim is simply a repeat of its other substantive claims.
   10
      The Fourth Circuit noted that Amazon could plead breach of contract and unjust enrichment
   claims in the alternative because the Watson Defendants contested liability under the contracts.
   Amazon.com Inc. v. WDC Holdings, LLC, No. 20-1743, 2021 WL 3878403, at *6 (4th Cir. Aug.
   31, 2021). The Fourth Circuit also noted that the broad proposition that “there can be no unjust
   enrichment in contract cases” was “plainly erroneous.” Id. (citing James G. Davis Constr. Corp.
   v. FTJ, Inc., 298 Va. 582, 841 S.E.2d 642, 648 (2020) (quoting Restatement (Third) of Restitution
   and Unjust Enrichment § 2, cmt. c, at 17)). The Fourth Circuit did not note, however, that the
   Virginia Supreme Court’s limitation on that broad statement was in the context of unenforceable
   contracts. James G. Davis Constr. Corp., 298 Va. at 593, 841 S.E.2d at 648 (“For example, unjust
   enrichment is not precluded where “a valuable performance has been rendered under a contract
   that is invalid, or subject to avoidance, or otherwise ineffective to regulate the parties’
   obligations.”). The issue of whether the contracts are enforceable is not present in this case.
   Amazon expressly affirmed the contracts and removed its breach of contract claims from the Third
   Amended Complaint.
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   certain fees to the Watson Defendants under separate contracts between the JV entities and

   Northstar. The Watson Defendants have a bona fide claim to the payment of those fees. In short,

   having entered into contracts, affirmed those contracts, and having provided no evidence that they

   overpaid for the services provided, Amazon’s unjust enrichment claim fails under the undisputed

   facts and law.

          A claim for unjust enrichment may not be founded upon the terms of an express contract.

   As stated by the Court of Appeals:

          It is a well-rooted principle of contract law that ‘[a]n express contract and an
          implied contract, relating to the same subject matter, cannot co-exist.’ Case v.
          Shepherd, 140 W.Va. 305, 84 S.E.2d 140, 144 (1954); see also Shanks v. Wilson,
          86 F.Supp. 789, 794 (S.D.W.Va.1949) (holding that no quasi-contractual recovery
          is possible ‘when the parties have clearly and plainly expressed in writing the actual
          contract between them’). Because ‘an action for unjust enrichment is quasi-
          contractual in nature[, it] may not be brought in the face of an express contract.’
          Acorn Structures, Inc. v. Swantz, 846 F.2d 923, 926 (4th Cir.1988).

   Bright v. QSP, Inc., 20 F.3d 1300, 1306 (4th Cir. 1994), cert. denied, 513 U.S. 875 (1994). See

   also Triad Packaging, Inc. v. SupplyOne, Inc., 597 F. App'x 734, 739 (4th Cir. 2015) (“The

   equitable claim of unjust enrichment provides relief where one party confers a benefit on the other

   party but the injured party cannot make out a claim for breach of contract. Such a claim is often

   referred to as one in quasi-contract or a contract implied in law. Critically, however, for a claim in

   quasi-contract to sound, no express contract must exist: If there is a contract between the parties

   the contract governs the claim and the law will not imply a contract.”) (internal citations and

   quotation marks omitted)). Thus, where there is a valid contract, or where a party affirms a

   disputed contract, the contract precludes a recovery for unjust enrichment. CGI Fed. Inc. v. FCi

   Fed., Inc., 295 Va. 506, 519, 814 S.E.2d 183, 190 (2018) (awarding summary judgment to

   defendant because “[plaintiff] may not recover on a quasi-contractual claim that is otherwise

   precluded by a contract which [it] has affirmed.”); McPike v. Zero-Gravity Holdings, Inc., 280

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   F.Supp.3d 800, 809-10 (E.D.Va. 2017) (“Because unjust enrichment claims are only appropriate

   in the absence of an enforceable contract, and neither party here challenges the validity or

   enforceability of the Agreement…, plaintiff's unjust enrichment claim must be dismissed.”).

   Summary judgment in favor of the defendant is appropriate on an unjust enrichment claim where

   the existence of a contract governing the issue is undisputed. See Universal Life Ins. Co. v.

   Lindberg, No. 1:20CV681, 2022 WL 1394960, at *11 (M.D. N.C., March 31, 2022). The existence

   of the contracts (the leases and sale contracts in this case) therefore precludes Amazon’s unjust

   enrichment claims.

          Because there are express contracts governing Amazon’s payments, it must prevail on a

   fraudulent inducement claim or otherwise set aside the contracts to recover on an unjust enrichment

   theory. See Holland v. Cline Bros. Min. Co., Inc., 877 F.Supp. 308, 316-17 (S.D.W.Va. 1995) (“If

   the contract is deemed void or rescinded, there will be no express contract” thus an unjust

   enrichment claim can proceed.). See also Chrysler Capitol Corp. v. Century Power Corp., 778

   F.Supp. 1260, 1272 (S.D.N.Y. 1991) (“If [contract] is void or may be voided for fraudulent

   inducement, then recovery under a theory of unjust enrichment may be proper. On the other hand,

   if the fraud allegations are dismissed or determined to be without merit, then unjust enrichment is

   not a valid theory of recovery.” (citations omitted)). Here, Amazon has not even alleged such a

   claim. To the contrary, it has foreclosed such a claim by affirming the leases with the JV entities.

   Accordingly, the undisputed facts preclude Amazon’s unjust enrichment claim.

          Amazon’s unjust enrichment claim would fail even in the absence of affirmed contracts.

   The test for unjust enrichment is “(1) the plaintiff conferred a benefit on the defendant; (2) the

   defendant knew of the benefit and should reasonably have expected to repay the plaintiff; and (3)

   the defendant accepted or retained the benefit without paying the value.” Davis Construction



                                                   43
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   Corp. v. FTJ, Inc., 298 Va. 582, 597, 841 S.E.2d 642, 650 (2020). Here, Amazon is not claiming

   that it paid a party that then did not deliver. Amazon contracted for the development of data center

   shells with various landlord entities, each of which was a joint venture of Northstar and IPI. The

   landlord entities delivered those data center shells in full and on time. SUMF ¶¶ 38-40.

           Amazon’s claim, instead, is that some funds were paid to a third party and that it must have

   overpaid by those same amounts. No legal theory – or even logic – supports this claim. To be

   successful, an unjust-enrichment plaintiff must satisfy a threshold requirement — proving that the

   defendant was “enriched” at the plaintiff's “expense.” See Hamm v. Scott, 258 Va. 35, 38-39, 515

   S.E.2d 773 (1999); Kern v. Freed Co., 224 Va. 678, 680-81, 299 S.E.2d 363 (1983). “One may

   not recover under a theory of implied [in law] contract simply by showing a benefit to the

   defendant ....” Nedrich v. Jones, 245 Va. 465, 476, 429 S.E.2d 201 (1993). An “enrichment of the

   defendant” does not alone “suffice since the defendant will be deprived of the enrichment only if

   its retention is regarded as unjust.” 1 George E. Palmer, The Law of Restitution § 1.7, at 41 (1978).

           To prove an unjust enrichment, the plaintiff must show that the defendant “knew of the

   benefit” and could “reasonably have expected” to pay for it. Schmidt v. Household Fin. Corp., II,

   276 Va. 108, 116, 661 S.E.2d 834 (2008). The key qualification, legal reasonableness, has well-

   recognized limits. As a matter of law, an enrichment cannot be unjust if the defendant has “a bona

   fide hostile claim of right” to whatever benefit was allegedly bestowed on him. City of Norfolk v.

   Norfolk Cty., 120 Va. 356, 374, 91 S.E. 820 (1917). In such a circumstance, “the law will not

   indulge the fiction of the existence of an implied promise of defendant to plaintiff; for that would

   in such case be in itself inequitable.” Id.

           Here, Amazon cannot prevail on an unjust enrichment theory because it contracted for

   certain development and received exactly that. Amazon has assiduously avoided any analysis of



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   whether the properties it received were at market prices. It has admitted, however, that it has no

   compensable damages on the Lease Transactions, which form the basis of its unjust enrichment

   claims. Thus, Amazon’s theory of unjust enrichment is not that it would have paid less for the

   data center shells. Instead, it contends that it would not have been awarded the contracts to the

   Northstar/IPI joint ventures if it knew of the alleged kickbacks. Amazon has, however, expressly

   affirmed the leases at issue and continues to enjoy the benefit of each property.11 Moreover,

   Amazon paid nothing to the Watson Defendants directly. Unjust enrichment is not applicable

   where plaintiff seeks fees paid to a defendant by others. See Sensormatic Sec. Corp. v. Sensormatic

   Elecs. Corp., 249 F. Supp. 2d 703, 708–09 (D. Md. 2003); Mich. Mut. Ins. Co. v. Smoot, 183 F.

   Supp. 2d 806 (E.D. Va. 2001) (no unjust enrichment where defendant paid by third party). These

   facts are all undisputed.    Under these circumstances, Amazon cannot prevail on an unjust

   enrichment claim because it cannot show that the Watson Defendants were “enriched” at

   Amazon’s expense or that any enrichment was unjustified.

          The irony of Amazon’s claim is that it is seeking to impose an unjust enrichment on the

   Watson Defendants. It seeks to enjoy the benefit of the data center shells developed by Northstar

   without having to pay for their development. Such a result would be quintessentially inequitable.

   As unjust enrichment is an equitable doctrine – one that is intended to be “highly protective of the

   defendant”12 – that result cannot be permitted to prevail.

          I. The Watson Defendants Should Be Granted Judgment on Amazon’s Conversion
             Claim

          Virginia law defines the tort of conversion as any distinct act of dominion or control



   11
      As discussed above, Amazon subsequently purchased some of the leased property from IPI and
   sold IPI other properties in exchange.
   12
      Restatement (Third) of Restitution and Unjust Enrichment ch. 3, topic 2, intro. note (2011)
   (emphasis added)
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   wrongfully exerted over the property of another, either inconsistent with, or in denial of, the

   owner’s rights. Hairston Motor Co. v. Newsome, 253 Va. 129, 135, 480 S.E.2d 741, 741 (1997).

   The elements of a conversion claim are (i) the ownership or right to possession of the property at

   the time of the conversion and (ii) the wrongful exercise of dominion or control by the defendant

   over the plaintiff’s property, thus depriving him of possession. Simmons v. Miller, 261 Va. 561,

   582, 544 S.E.2d 666, 679 (2001). Indeed, absent an allegation that the plaintiff is entitled to

   immediate possession of the property at issue, no conversion claim lies. Economopoulos v.

   Kolaitis, 259 Va. 806, 814, 528 S.E.2d 714, 719 (2000); see also Jones v. Bank of Am. Corp., No.

   4:09cv162, 2010 WL 6605789, at *6 (E.D. Va. Aug. 24, 2010) (because plaintiff “failed to plead

   a plausible claim that she has the right to immediate possession” of the property at issue, plaintiff

   could not state a claim for conversion). To maintain a claim for conversion, the plaintiff must have

   a property interest in the item allegedly converted and be “entitled to the immediate possession of

   the item.” Economopoulos, 259 Va. At 814, 528 S.E.2d at 719.

          Amazon’s conversion claim against the Watson Defendants pertains fees to paid in

   connection with the Lease Transactions and the $5 million paid by Ramstetter and Camenson to

   Watson to settle the claim that they had usurped a corporate opportunity. See Dkt. 765 at 106-108.

          The evidence concerning the flow of funds is undisputed. Amazon did not pay or transfer

   a single dollar to any of the Watson Defendants. SUMF ¶ 31.

                                                         See Ex. 19 (Vonderhaar 30(b)(6) Tr.) at 107:7-

   22; SUMF ¶ 41. It did not pay any fees to the Watson Defendants. Because Amazon paid nothing

   to the Watson Defendants, they cannot be liable for conversion of Amazon’s funds.

          All of the fees paid to Northstar by the Special Purpose Ownership Entities in connection

   with the Lease Transactions were paid pursuant to contract and the Watson Defendants thus had a



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   rightful claim to those funds. There can be no conversion where a defendant has a claim of right

   to the disputed funds. See Simmons v. Miller, 261 Va. at 582, 544 S.E.2d at 679. Moreover, since

   the filing of its original complaints, Amazon has amended and adopted the Lease Transactions at

   issue. See SUMF ¶¶ 45-46; IPI Settlement Agreement. Having assumed the leases, Amazon is

   contractually obligated to make payment of the rent called for under the various leases. If Amazon

   contends that the IPI Settlement reduced the fees payable, that may be the case, but Amazon

   already has recouped those fees. Therefore, if Amazon were to obtain damages on behalf of

   conversion, it would be obtaining multiple recoveries. Moore v. Virginia Int'l Terminals, 254 Va.

   46, 49, 486 S.E.2d 528, 529 (1997) (“[D]uplicative recovery is barred.”). Accordingly, Amazon

   cannot maintain a cause of action for conversion with respect to the Lease Transactions.

          With respect to White Peaks, Amazon has offered no evidence that the Watson Defendants

   possess any property of Amazon. The evidence is undisputed that the Watson Defendants did not

   engage in any wrongdoing with respect to the White Peaks transaction and did not even know of

   it until after the fact. See supra. The evidence is further undisputed that Watson and Northstar

   settled their claims against Ramstetter and Camenson through an arms-length mediation overseen

   by a retired Colorado judge. SUMF ¶ 78. To the extent Amazon has a remedy on the White Peaks

   transaction, it is not against the Watson Defendants.

                                            CONCLUSION

          For the foregoing reasons, the Watson Defendants respectfully request summary

   judgment on Counts I through V, VII and VIII.




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   DATED: January 11, 2023            Respectfully submitted,


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